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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
        v.                                   :
                                             :       Case No. 1:22-cr-404 (JEB)
ISREAL EASTERDAY,                            :
                                             :
                 Defendant.                  :


       UNITED STATES’ UNOPPOSED MOTION TO CONTINUE SENTENCING
        Sentencing is currently scheduled to occur on April 1, 2024. Undersigned lead counsel for

the government will be in trial on another case that week, however. Accordingly, the United States

of America respectfully moves this Court to continue sentencing to the soonest date that is

mutually convenient for the Court and the parties.

        The government has conferred with the Defendant, who does not object to this brief

continuance. Counsel for the defendant shares that she will be in trial the week of April 15, 2024.

        WHEREFORE, the government respectfully requests that the Court continue sentencing to

the week of April 22, 2024, or to a date thereafter that is mutually convenient for the Court and

the parties.

                                                     Respectfully submitted,


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